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HAFETZ & NECHELES LLP
ATTORNEYS AT LAW

10 East 40th Street, 48th Floor
NEW YORK, N.Y. 10016
TELEPHONE: (2 I 2) 997-7400
TELECOPIER. (2 I 2) 997-7646



                                                      July 27, 2018
Via ECF

Hon. Nicholas G. Garaufis
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201


       Re:        United States v. Clare Bronfman, S1 18-cr-204 (NGG)

Dear Judge Garaufis:

        We respectfully submit this letter in support of Clare Bronfman’s bail application. Ms.
Bronfman was arrested on Tuesday and was named in two counts of the Superseding Indictment.
She is charged with participating in a Racketeering Conspiracy in violation of 18 U.S.C. §
1962(d) and with Conspiracy to Commit Identity Theft in violation of 18 U.S.C. § 1028(a)(7).
Neither of these charges carry a presumption of detention or a mandatory prison sentence.

        Ms. Bronfman is named in three of the ten racketeering acts charged in Count One. In
Act Two, she is alleged to have conspired to commit identity theft between 2005 and 2008 by
breaking into her father’s computer. In Act Five, she is alleged to have encouraged, in early
2009, an alien to enter the United States illegally and to have committed money laundering for
that purpose. Finally, in Act Ten, she is alleged to have conspired to commit identity theft,
between November 2016 and March 2018, by causing Keith Raniere’s deceased girlfriend’s
credit card to be used pay Raniere’s expenses. None of these predicate acts involve even the
slightest hint of violence and most occurred approximately a decade ago.

             I.     The Proposed Bail Package

       We propose the following substantial bail package:
       1. A $100 million bond secured by $50 million in property, including: (a) $25,000,000
          worth of cash or securities held in a trust account of which she is the beneficiary; (b)
          real estate owned by Ms. Bronfman located in the United States worth approximately
          $4 million; (c) a UCC filing against the Delaware LLC that owns the island and resort

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             in Fiji for $13,000,000; and (d) several pieces of real estate in the United States
             belonging to Ms. Bronfman’s sister and worth more than $8 million.1
          2. Her mother and brother-in-law as co-signors on the bond;
          3. Restrictions on her ability to obtain money from her trust accounts except for certain
             Court-approved purposes (See Declarations attached as Exhibits B and C);
          4. Surrender of her passport;
          5. Electronic monitoring and home detention until all bail conditions are satisfied,
             including the filing of property liens in the appropriate courts;
          6. After satisfaction of bail conditions, travel restricted to the Southern and Eastern
             Districts of New York; and
          7. No contact with any co-defendant or any person who the defense is aware will be a
             government witnesses in this case outside the presence of her attorneys.2


             II.     Legal Standard

        “In our society liberty is the norm, and detention prior to trial or without trial is the
carefully limited exception.” United States v. Salerno, 481 U.S. 739, 755 (1987). As such, the
Bail Reform Act requires that criminal defendants be released “subject to the least restrictive …
combination of conditions, that [the court] determines will reasonably assure the appearance of
the person as required and the safety of any other person and the community.” Notably, “Section
3142 speaks of conditions that will ‘reasonably’ assure appearance, not guarantee it.” United
States v. Xulam, 84 F.3d 441, 444 (D.C. Cir. 1996); accord United States v. Orta, 760 F.2d 887,
891-92 (8th Cir. 1985) (same).

         The standard of proof regarding danger to the community is “clear and convincing
evidence,” § 3142(f); United States v. Chimurenga, 760 F.2d 400, 405-06 (2d Cir. 1985), and for
risk of flight it is a preponderance. United States v. Sabhnani, 493 F.3d 63, 75 (2d Cir. 2007).

        In assessing a defendant’s danger to the community and the risk of flight presented by her
release, Congress has directed courts to consider several factors: (1) “the nature and
circumstances of the offense charged, including whether the offense is a crime of violence”; (2)
“the weight of the evidence against the person”; (3) “the history and characteristics of the


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    The properties that will secure the bond are listed on Exhibit A.
2 On Tuesday, the Court ordered Ms. Bronfman to have no contact with members of Nxivm until

her bail package was finalized on July 27. Tr. 6/24, pp. 39–40. We ask that the Court not impose
this condition going forward as there are no “members” of Nxivm. Rather, Nxivm was an
organization which offered self-help courses to those who wanted it. It was not a membership-
based organization.
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person”; and (4) “the nature and seriousness of the danger to any person or the community that
would be posed by the person’s release.” § 3142(g). We discuss these factors below.

           III.    Ms. Bronfman Poses No Danger to Any Other Person or the Community

       Ms. Bronfman poses no danger to “any other person or the community.” She has no prior
convictions and has never been accused of any sort of violence. Nor is she alleged to have played
any role in the entity DOS.

        The only “harassment” the government alleges Ms. Bronfman ever participated in was
allegedly using “abusive litigation” to “intimidate and attack perceived enemies and critics of
Raniere.” Indictment ¶ 6(e). But litigation tactics, regardless of how aggressive they may be, are
surely not the type of danger the Bail Reform Act is intended to prevent against. See, e.g., United
States v. Persico, 376 F. App’x 155, 157 (2d Cir. 2010) (questioning the finding of danger where
the defendant had no criminal record and “the government offer[ed] no direct evidence of [the
defendant] either using violence or directing others to use violence,” and “the only threats he
ever condoned were threats of legal action”); United States v. LaLonde, 246 F. Supp. 2d 873, 875
(S.D. Ohio 2003) (holding that the defendant did not “pos[e] a serious risk of intimidating
witnesses” simply because “he ha[d] contacted witnesses in past prosecutions and asked them to
assist him in defending himself” and “enlisted the services of a private investigator in order to
learn the identities of potential witnesses against him”).

       Given the undisputed facts in this case, the proposed bail package will more than
reasonably assure “the safety of any other person and the community.”

           IV.     The Proposed Bail Conditions Will Reasonably Assure Ms. Bronfman’s
                   Appearance as Required

        The proposed bail package will also assure that Ms. Bronfman will appear as directed at
all court dates. As an initial matter, at least since the time of the arrest of Keith Raniere, Ms.
Bronfman has known that she is under investigation and facing arrest. For example, at the bail
hearing for Raniere, the prosecution said that Ms. Bronfman “is a person who the government
does believe has acted as a co-conspirator in criminal activity with [Raniere].” Tr. 6/12, p.24.
Nevertheless, Ms. Bronfman voluntarily returned to the United States from Mexico after Raniere
was arrested. Moreover, during the period between Raniere’s arrest and today, she has twice
travelled to Europe (after informing the U.S. Attorney’s Office of her travel plans) and then
returned to the United States.

         In addition, Ms. Bronfman, understanding that she was likely to be indicted, rented an
apartment in Manhattan, so that she could live in this area—close to her attorneys—while she
prepared for trial. Relatedly, Ms. Bronfman’s attorneys had asked the government, prior to her
arrest, that she be given the opportunity to voluntarily surrender. On the day of her arrest, the
prosecutor emailed undersigned counsel and asked that they contact the prosecutor immediately.

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We did so before 7 a.m. and were told that Ms. Bronfman had been indicted and should
surrender that day. Ms. Bronfman, voluntarily, did so.

         Simply put, Ms. Bronfman “has not seized upon previous opportunities to flee to avoid
prosecution or incarceration, and the opportunities have been many.” LaLonde, 246 F. Supp. 2d
at 875. This is a powerful factor, we submit, showing that Ms. Bronfman has no intention of
fleeing in this case.

         Furthermore, while Ms. Bronfman does have significant foreign ties, including family
members in England and France and property in Fiji, there is no realistic possibility that she
would manage to flee to any of these countries. The only country where she is a citizen is the
United States. And she has already surrendered her passport to the Probation Department.
Moreover, each of the three foreign countries to which she has ties have extradition treaties with
the United States. Even if she were to flee to any of them, therefore, she would be extradited
back to the United States. Courts have recognized that the existence of extradition treaties is a
significant factor in determining whether the proposed bail conditions will reasonably assure a
defendant’s appearance. See, e.g., United States v. Yijia Zhang, No. 12-498, 2014 U.S. Dist.
LEXIS 147306, at *9 (E.D. Pa. Oct. 16, 2014) (“Importantly, China has no extradition treaty
with the United States. If Mr. Zhang were to return to China while on pretrial release, there is
likely little chance that he could ever be returned to the United States for trial.”); United States v.
Shahab Kouchekzadeh, No. 08-cr-03A, 2008 U.S. Dist. LEXIS 34669, at *8 (W.D.N.Y. Apr. 28,
2008) (noting that “the possibility exists that he could flee to Iran, where no extradition treaty
exists.”); United States v. Agriprocessors, Inc., No. 08-cr-1324(LRR), 2009 U.S. Dist. LEXIS
70588, at *25 n.8 (N.D. Iowa Jan. 28, 2009) (“In any event, Israel and the United States have an
extradition treaty. Any benefit in fleeing to Israel would presumably be short-lived.”) (internal
citation omitted); United States v. Kanawati, No. 2008-7, 2008 U.S. Dist. LEXIS 38221, at *10–
11 (D.V.I. May 12, 2008) (collecting cases).

        Additionally, when considering the defendant’s motivation to flee, courts often consider
what the likely Guidelines sentence would be if the defendant was convicted of the charged
crimes. See, e.g., United States v. Cilins, 2013 U.S. Dist. LEXIS 104436, at *6 n.1 (S.D.N.Y.
July 19, 2013) (“This guideline calculation is, of course, not binding on the parties or this Court
for any potential sentencing. But it is a useful benchmark to be considered in the 18 U.S.C. §
3142 factors.”). In this case, the likely guidelines would be no higher than 3 years.3 While that
would not be an insignificant prison sentence, it would be substantially shorter than the average
sentence that results in detention or home confinement. Cf. United States v. Bonilla, 388 F App’x
78, 80 (2d Cir 2010) (“Further, Tavarez’s likely Guidelines range of thirty years’ to life

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 Ms. Bronfman is charged with two crimes: 18 U.S.C. § 1962 and 18 U.S.C. § 1028(a)(7). The
former carries a guideline range of 30–37 months. See U.S.S.G. § 2E1.1(a)(1). The guideline for
the latter is § 2B1.1 and therefore depends on the amount of loss due to the alleged tax evasion
but is most likely under two years.
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imprisonment provides a strong incentive for him to flee.”); Sabhnani, 493 F.3d at 66-67 (2d Cir
2007) (“With respect to flight, the government submitted that the defendants had a strong motive
to flee the United States because the evidence of their guilt was compelling; and upon
conviction, they faced a significant term of incarceration, specifically, a statutory maximum of
forty years’ imprisonment and a Guidelines range of 210 to 262 months.”).

        Moreover, given the proposed bail package, fleeing would mean that Ms. Bronfman
would surrender the vast majority, if not the entirety, of her wealth by fleeing. Most obviously, it
would cause her to forfeit $100 million—the entirety of her net worth outside her trusts—based
on the amount of the bond. And as set forth in the attached Declarations of Leslie Geller, Esq.
and Joseph Weilgus, if Ms. Bronfman were to flee she would also lose her access to the two
substantial trust accounts of which she is the beneficiary, which comprise the other significant
part of her wealth. First, as described in the Geller and Weilgus Declarations, attached as
Exhibits B and C, the trust would immediately transfer $25,000,000 from the trust as a
distribution to the court if Bronfman’s bail were to be revoked. Second, the trust advisors would,
under no circumstances, distribute funds as discretionary distributions to a fugitive from justice,
which would ruin their own professional careers and subject them to criminal liability. Compare
Sabhnani, 493 F.3d at 77 (“Defendants could, with relatively little disruption, continue to operate
their highly lucrative business from any number of overseas locations.”).

         Finally, fleeing would cause significant financial harm to Ms. Bronfman’s closest family
members. Her mother and brother-in-law, who have both come to New York from Europe to act
as sureties on the bond, would be left destitute.4 Similarly, Sara Bronfman5, Ms. Bronfman’s
sister, would lose her properties in upstate New York, her New York City apartment, and her
share of a property in Sun Valley, Idaho, all of which she has agreed to post to secure Ms.
Bronfman’s bond. Collectively, these properties are worth over $8 million. See Chart of
Properties, attached as Ex. A. The harm fleeing would cause these close family members would
provide “moral suasion,” United States v. Baig, 536 F. App’x 91, 93 (2d Cir. 2013), over Ms.
Bronfman and further serves as a factor which prevents her from fleeing.

           V.      House Arrest is not Appropriate in this Case

        We respectfully submit that house arrest is not appropriate in this case as it is not the
“least restrictive … condition” possible to prevent flight and protect the community. See §
3142(c)(1)(B). As an initial matter, we note that the other defendants in this case who, like Ms.
Bronfman, were not charged with sex trafficking or forced labor, were not subjected to home

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  Ms. Bronfman’s mother has a home which she would lose, as a surety on the bond, if Ms.
Bronfman fled. Similarly, her brother-in-law would lose the approximately three million dollars
in assets he has if she fled.
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 Ms. Bronfman’s sister was unable to travel to the United States to be in court today due to her
young children, including one who she is still nursing.
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detention. Ms. Bronfman should not be treated differently due to her wealth. Moreover, while the
liberty interest in not being restricted to one’s home without having been convicted of a crime
may not be as significant as the liberty interest in not being incarcerated, it is still of
constitutional significance. See United States v. Polouizzi, 697 F. Supp. 2d 381, 388 (E.D.N.Y.
2010) (“The excess [prohibited by the Eight Amendment] can be reflected in monetary terms or
in other limitations on defendant’s freedom such as curfews, house arrests, limits on
employment, or electronic monitoring.”). And, in fact, criminal defendants with similarly large
net worth’s (and facing more serious charges) have been released without home incarceration.
For example, in United States v. Rajaratnam, the defendant was released on a $100 million
personal recognizance bond, secured by $20 million in cash or property, and allowed to travel
within 110 miles of Manhattan. 09-cr-1184 (S.D.N.Y.), Dkt. Entry for 10/16/2009. Similarly, in
United States v. Madoff, the defendant was initially released on a $10 million personal
recognizance bond, and was allowed to travel to S.D.N.Y., E.D.N.Y. and the District of
Connecticut. 09-cr-213 (S.D.N.Y.), Dkt. # 4. Only after he was unable to obtain sureties to co-
sign his bond was he subjected to home detention. See Dkt. #22.

        Most crucially, Ms. Bronfman is not accused of any violence or tampering with
witnesses. And, as discussed above, she is not a flight risk. As such, home detention would not
be tailored to the minimal risk she poses. See United States v. Scott, 450 F.3d 863, 866 n.5 (9th
Cir. 2006) (holding that “conditions of release or detention [must] not be ‘excessive’ in light of
the perceived evil.”) (brackets in the original; quoting United States v. Salerno, 481 U.S. 739,
754 (1987).

        Finally, while electronic monitoring exists that could track Ms. Bronfman without
subjecting her to home confinement, we do not believe, for the reasons discussed above, that it is
necessary in this case to prevent her from fleeing.




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      Wherefore, this Court should release Ms. Bronfman under the proposed bail conditions.

                                                  Respectfully submitted,

                                                    /s/ Susan Necheles
                                                   HAFETZ & NECHELES LLP
                                                   Susan R. Necheles
                                                   Kathleen E. Cassidy
                                                   Gedalia M. Stern
                                                   10 E. 40th St., 48th Fl.
                                                   New York, N.Y. 10016
                                                   212-997-7400
                                                   srn@hafetznecheles.com
                                                   Attorneys for Clare Bronfman

cc: AUSA Moira K. Penza




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